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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF ILLINOIS


  In re:                                               §   Case No. 19-60280-LKG
                                                       §
  NOVATEK MEDICAL RENTAL                               §
  GROUP, INC.                                          §
                                                       §
                      Debtor(s)                        §

           CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
           CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

          Robert T. Bruegge, chapter 7 trustee, submits this Final Account, Certification that the
  Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $94,500.00                   Assets Exempt:        NA
(without deducting any secured claims)



Total Distributions to                                     Claims Discharged
Claimants:                        $18,877.43               Without Payment:      NA

Total Expenses of
Administration:                   $9,922.57


        3)      Total gross receipts of $28,800.00 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $28,800.00 from the
liquidation of the property of the estate, which was distributed as follows:




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                                   CLAIMS           CLAIMS             CLAIMS               CLAIMS
                                 SCHEDULED         ASSERTED           ALLOWED                PAID
  Secured Claims
  (from Exhibit 3)                $382,500.00         $689,433.62       $689,433.62          $16,500.00
  Priority Claims:
      Chapter 7
      Admin. Fees and                     NA            $9,922.57          $9,922.57          $9,922.57
      Charges
       (from Exhibit 4)
      Prior Chapter
      Admin. Fees and                     NA                $0.00              $0.00               $0.00
      Charges (from
      Exhibit 5)
      Priority
      Unsecured                     $6,581.25      $1,567,369.12           $8,493.65          $2,377.43
      Claims
      (From Exhibit 6)
  General Unsecured
  Claims (from                    $417,279.44         $374,296.31       $370,886.23                $0.00
  Exhibit 7)
           Total
     Disbursements                $806,360.69      $2,641,021.62      $1,078,736.07          $28,800.00

        4). This case was originally filed under chapter 7 on 07/31/2019. The case was pending
  for 23 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 06/01/2021                               By:   /s/ Robert T. Bruegge
                                                               Trustee




  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.



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                                                 EXHIBITS TO
                                                FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                         DESCRIPTION                                    UNIFORM                          AMOUNT
                                                                       TRAN. CODE                       RECEIVED
2001 Ford F250 Regular Cab VIN 1FDWE35L61HA79799. Fair                    1129-000                         $2,550.00
condition. $3,691.00 KBB
2002 GMC Savana 1500/2500 2WD (cargo) VIN                                 1129-000                         $2,850.00
1GTGG25RX21902410. Fair condition $2,800.00 KBB
2012 Doolittle Trailer Other Information: VIN                             1129-000                         $1,050.00
1DGRS1214CM096604
Inventory 7/24/2017 $200,000.00 Wholesale                                 1129-000                        $21,500.00
Yale Model 95 Forklift. Fair condition. $3,000.00                         1129-000                           $850.00
TOTAL GROSS RECEIPTS                                                                                      $28,800.00

 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
 NONE


 EXHIBIT 3 – SECURED CLAIMS

 CLAIM          CLAIMANT           UNIFORM               CLAIMS              CLAIMS   CLAIMS               CLAIMS
NUMBER                            TRAN. CODE          SCHEDULED            ASSERTED ALLOWED                  PAID
    4-1       Midland States         4110-000            $382,500.00        $394,933.62    $394,933.6     $16,500.00
              Bank                                                                                  2
    4-2S      Midland States         4210-000                  $0.00        $294,500.00    $294,500.0             $0.00
              Bank                                                                                  0
TOTAL SECURED CLAIMS                                     $382,500.00        $689,433.62    $689,433.6     $16,500.00
                                                                                                    2


 EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

       PAYEE               UNIFORM               CLAIMS              CLAIMS             CLAIMS             CLAIMS
                          TRAN. CODE          SCHEDULED            ASSERTED           ALLOWED                PAID
Robert T. Bruegge,           2100-000                     NA           $3,630.00        $3,630.00          $3,630.00
Trustee
Robert T. Bruegge,           2200-000                     NA            $541.70           $541.70            $541.70
Trustee
International Sureties       2300-000                     NA               $5.39            $5.39                 $5.39
Ltd
Independent Bank             2600-000                     NA             $51.48            $51.48             $51.48
GEORGE B. KRUSE,             3410-000                     NA           $2,245.00        $2,245.00          $2,245.00
Accountant for
Trustee
Martin Auction               3610-000                     NA           $2,150.00        $2,150.00          $2,150.00
Services, Auctioneer
for Trustee

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Rob Nord, Auctioneer           3610-000               NA            $730.00             $730.00         $730.00
for Trustee
Rob Nord, Auctioneer           3620-000               NA            $569.00             $569.00         $569.00
for Trustee
TOTAL CHAPTER 7 ADMIN. FEES AND                       NA           $9,922.57           $9,922.57       $9,922.57
CHARGES


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
 NONE


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

 CLAIM          CLAIMANT             UNIFORM         CLAIMS             CLAIMS            CLAIMS       CLAIMS
NUMBER                              TRAN. CODE    SCHEDULED           ASSERTED          ALLOWED          PAID
     2        Illinois                5800-000             $44.00         $707.04           $707.04     $197.91
              Department of
              Employment
              Security
    8-1P      Internal Revenue        5800-000          $6,537.25 $1,536,131.00                $0.00      $0.00
              Service
    8-2P      Internal Revenue        5800-000              $0.00       $7,478.93              $0.00      $0.00
              Service
    8-3P      Internal Revenue        5800-000              $0.00      $15,265.54              $0.00      $0.00
              Service
    8-4P      Internal Revenue        5800-000              $0.00       $7,786.61          $7,786.61   $2,179.52
              Service
              IDES                    5800-000              $0.00              $0.00           $0.00      $0.00
TOTAL PRIORITY UNSECURED CLAIMS                         $6,581.25 $1,567,369.12            $8,493.65   $2,377.43


 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

 CLAIM          CLAIMANT             UNIFORM        CLAIMS            CLAIMS             CLAIMS        CLAIMS
NUMBER                              TRAN. CODE   SCHEDULED          ASSERTED           ALLOWED           PAID
     1        Becton,                 7100-000         $3,112.82      $6,225.64           $6,225.64       $0.00
              Dickinson and
              Company
     3        Uline, Inc              7100-000         $1,428.49      $1,428.05           $1,428.05       $0.00
   4-2U       Midland States          7100-000             $0.00    $100,433.62        $100,433.62        $0.00
              Bank
     5        Anybattery Inc          7100-000         $5,361.10      $5,381.10           $5,381.10       $0.00
     6        JPMorgan Chase          7100-900        $23,499.13     $26,082.88          $26,082.88       $0.00
              Bank, N.A.
     7        Med E-Quip              7100-000        $20,767.58    $185,678.81        $185,678.81        $0.00
              Locators, Inc.
   8-1U       Internal Revenue        7100-000             $0.00        $269.48               $0.00       $0.00
              Service
   8-2U       Internal Revenue        7100-000             $0.00        $269.48               $0.00       $0.00
              Service

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   8-3U       Internal Revenue    7100-000             $0.00    $2,871.12        $0.00   $0.00
              Service
   8-4U       Internal Revenue    7100-000             $0.00    $3,253.71    $3,253.71   $0.00
              Service
     9        TriMedX             7100-000        $24,500.00   $27,367.20   $27,367.20   $0.00
              Holdings, LLC
     10       Taylor Law          7100-000          $400.00      $480.00      $480.00    $0.00
              Offices, PC
     11       Southeastern        7100-000         $1,200.00    $1,228.00    $1,228.00   $0.00
              Biomedical
              Associates, Inc.
     12       Commercial          7100-000             $0.00    $2,791.37    $2,791.37   $0.00
              Collection Corp
              of NY
     13       Bahrns              7100-000         $3,200.00    $3,759.73    $3,759.73   $0.00
              Equipment, Inc.
     14       JAKEN               7100-000         $3,852.13    $3,801.12    $3,801.12   $0.00
              MEDICAL INC
     15       Adepto Medical      7100-000         $2,975.00    $2,975.00    $2,975.00   $0.00
              AFLAC               7100-000          $313.68         $0.00        $0.00   $0.00
              Airgas USA, LLC     7100-000             $0.00        $0.00        $0.00   $0.00
              AIV, Inc.           7100-000         $4,477.74        $0.00        $0.00   $0.00
              Alpha Source,       7100-000          $108.38         $0.00        $0.00   $0.00
              Inc.
              Ameren Illinois     7100-000          $159.68         $0.00        $0.00   $0.00
              Arrow Pest and      7100-000           $55.00         $0.00        $0.00   $0.00
              Termite Control,
              Inc
              B Braun Medical,    7100-000         $3,469.17        $0.00        $0.00   $0.00
              Inc
              Batteries Plus      7100-000         $1,415.20        $0.00        $0.00   $0.00
              Bulbs
              Baxter Healthcare   7100-000         $2,481.89        $0.00        $0.00   $0.00
              Beckson Medical     7100-000        $99,999.00        $0.00        $0.00   $0.00
              Equipment, LLC
              Bemes, Inc,         7100-000         $2,933.90        $0.00        $0.00   $0.00
              Biomedix            7100-000          $650.00         $0.00        $0.00   $0.00
              Medical, Inc.
              Carle Foundation    7100-000        $11,052.47        $0.00        $0.00   $0.00
              Hospital
              CDR Medical         7100-000         $2,450.00        $0.00        $0.00   $0.00
              Sales
              Citibusiness Card   7100-000        $30,599.17        $0.00        $0.00   $0.00
              Consolidated        7100-000          $400.57         $0.00        $0.00   $0.00
              Communications
              Dave Schmidt        7100-000        $58,000.00        $0.00        $0.00   $0.00
              Dell Financial      7100-000          $895.91         $0.00        $0.00   $0.00
              Services

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              Dothager             7100-000          $245.93         $0.00      $0.00   $0.00
              Independent IT
              Consulting
              EAHC Structures      7100-000          $151.08         $0.00      $0.00   $0.00
              Effingham Co         7100-000             $0.00        $0.00      $0.00   $0.00
              Chamber of
              Commerce
              Effingham Co         7100-000         $1,339.02        $0.00      $0.00   $0.00
              Chamber of
              Commerce
              Fayette County       7100-000             $0.00        $0.00      $0.00   $0.00
              Hospital
              Fedex                7100-000          $141.06         $0.00      $0.00   $0.00
              Foremost Medical     7100-000         $3,022.00        $0.00      $0.00   $0.00
              Equipment
              Freedom Medical      7100-000          $280.85         $0.00      $0.00   $0.00
              Fritz Krampe         7100-000          $600.00         $0.00      $0.00   $0.00
              Enterprises, LLC
              Glenn Medical        7100-000           $19.91         $0.00      $0.00   $0.00
              Systems, Inc.
              Heartland            7100-000           $65.00         $0.00      $0.00   $0.00
              Landscaping, Inc.
              HG Development,      7100-000        $46,440.00        $0.00      $0.00   $0.00
              LLC
              Hinckley Springs     7100-000          $127.51         $0.00      $0.00   $0.00
              Hospira              7100-000         $1,752.07        $0.00      $0.00   $0.00
              Worldwide
              ILMO Products        7100-000         $1,486.40        $0.00      $0.00   $0.00
              Company
              Infusystem           7100-000          $119.00         $0.00      $0.00   $0.00
              Integrity Electric   7100-000         $3,161.73        $0.00      $0.00   $0.00
              and Pliumbing
              Inc
              IPFS Corporation     7100-000         $1,109.07        $0.00      $0.00   $0.00
              Lincolnland          7100-000          $500.00         $0.00      $0.00   $0.00
              Home Medical
              Equipment
              Master Medical       7100-000         $1,910.00        $0.00      $0.00   $0.00
              Equipment
              Maxedon              7100-000          $120.00         $0.00      $0.00   $0.00
              Landscaping,
              LLC
              Med One              7100-000          $776.00         $0.00      $0.00   $0.00
              Equipment
              Services
              Medical              7100-000         $5,870.43        $0.00      $0.00   $0.00
              Specialties
              Distributors, LLC
              Medline              7100-000          $475.48         $0.00      $0.00   $0.00
              Industries, Inc.
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              Medtec Medical,      7100-000        $1,850.00        $0.00      $0.00   $0.00
              Inc
              Micro Direct, Inc.   7100-000          $33.75         $0.00      $0.00   $0.00
              MidAmerican          7100-000         $708.39         $0.00      $0.00   $0.00
              Energy Services,
              LLC
              Monet Medical,       7100-000         $165.00         $0.00      $0.00   $0.00
              Inc
              Pacific Medical      7100-000         $585.00         $0.00      $0.00   $0.00
              LLC
              Pana Community       7100-000        $2,750.00        $0.00      $0.00   $0.00
              Hospital
              Parcel Insurance     7100-000         $200.00         $0.00      $0.00   $0.00
              Plan
              Pro Medical          7100-000           $0.00         $0.00      $0.00   $0.00
              Distribution, LLC
              Progressive          7100-000          $49.78         $0.00      $0.00   $0.00
              Medical
              International
              Quail Electronics,   7100-000        $1,446.00        $0.00      $0.00   $0.00
              Inc
              R&D Batteries,       7100-000          $39.75         $0.00      $0.00   $0.00
              Inc.
              Sanitation           7100-000         $800.00         $0.00      $0.00   $0.00
              Services, Inc.
              Sarah Bush           7100-000         $850.00         $0.00      $0.00   $0.00
              Lincoln Health
              Center
              Sealed Air           7100-000        $3,006.30        $0.00      $0.00   $0.00
              Corporation
              Second Time          7100-000        $1,014.00        $0.00      $0.00   $0.00
              Medical
              Select POS and       7100-000        $1,860.00        $0.00      $0.00   $0.00
              Peripherals LLC
              Simple Solutions,    7100-000         $100.00         $0.00      $0.00   $0.00
              Inc
              Smiths Medical       7100-000        $4,567.02        $0.00      $0.00   $0.00
              ASD, Inc.
              Soma                 7100-000         $242.06         $0.00      $0.00   $0.00
              Technologies
              Staples              7100-000         $401.22         $0.00      $0.00   $0.00
              Tekyard, LLC         7100-000        $1,497.00        $0.00      $0.00   $0.00
              The Hope             7100-000        $2,425.00        $0.00      $0.00   $0.00
              Foundation
              United Ad Label      7100-000         $431.90         $0.00      $0.00   $0.00
              UPS                  7100-000         $535.55         $0.00      $0.00   $0.00
              Vital Hospital       7100-000        $6,999.89        $0.00      $0.00   $0.00
              Systems, Inc
              Willow Medical       7100-000        $4,827.28        $0.00      $0.00   $0.00

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              Worldwide          7100-000           $363.25          $0.00         $0.00   $0.00
              Express
              Xerox Financial    7100-000            $60.75          $0.00         $0.00   $0.00
              Services
TOTAL GENERAL UNSECURED CLAIMS                   $417,279.44   $374,296.31   $370,886.23   $0.00




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                                                                     FORM 1
                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                  Exhibit 8
                                                                 ASSET CASES
Case No.:                      19-60280-LKG                                                   Trustee Name:                               Robert T. Bruegge
Case Name:                     NOVATEK MEDICAL RENTAL GROUP, INC.                             Date Filed (f) or Converted (c):            07/31/2019 (f)
For the Period Ending:         6/1/2021                                                       §341(a) Meeting Date:                       09/19/2019
                                                                                              Claims Bar Date:                            12/23/2019

                         1                             2                    3                          4                         5                         6

                 Asset Description                   Petition/      Estimated Net Value             Property               Sales/Funds              Asset Fully
                  (Scheduled and                   Unscheduled     (Value Determined by             Abandoned             Received by the        Administered (FA) /
             Unscheduled (u) Property)                Value               Trustee,            OA =§ 554(a) abandon.           Estate               Gross Value of
                                                                  Less Liens, Exemptions,                                                         Remaining Assets
                                                                     and Other Costs)

 Ref. #
1       Midland States Bank Checking                  $7,000.00                   $7,000.00                                             $0.00                      FA
        XXXX
2       90 days old or less: face amount             $50,000.00                  $50,000.00                                             $0.00                      FA
         100,000.00 - doubtful or
         uncollectible accounts
         50,000.00 =
3        Over 90 days old: face amount                Unknown                         $0.00                                             $0.00                      FA
         142,449.31 - doubtful or
         uncollectible accounts
         142,449.31 =
4        Inventory 7/24/2017                        $200,000.00                 $200,000.00                                      $21,500.00                        FA
         $200,000.00 Wholesale
5        7 desks, 10 filing cabinets,                 $7,500.00                   $7,500.00                                             $0.00                      FA
         shelving units, 8 chairs, 4
         tables, refrigerator, 10
         wastebaskets $7,500.00
         Liquidation
6        3 workbenches $3,000.00                      $3,000.00                   $3,000.00                                             $0.00                      FA
         Liquidation
7        12 computers, 10 printers                    $2,000.00                   $2,000.00                                             $0.00                      FA
         $2,000.00 Liquidation
8        Tools $25,000.00 Liquidation                $25,000.00                  $25,000.00                                             $0.00                      FA
9        2002 GMC Savana 1500/2500                    $2,800.00                   $2,800.00                                          $2,850.00                     FA
         2WD (cargo) VIN
         1GTGG25RX21902410. Fair
         condition $2,800.00 KBB
10     2001 Ford F250 Regular Cab                     $3,691.00                   $3,691.00                                          $2,550.00                     FA
       VIN 1FDWE35L61HA79799.
       Fair condition. $3,691.00 KBB
Asset Notes:     This is actually a Ford E350
11       Yale Model 95 Forklift. Fair                 $3,000.00                   $3,000.00                                           $850.00                      FA
         condition. $3,000.00
12       2012 Doolittle Trailer Other                 $3,630.00                   $3,630.00                                          $1,050.00                     FA
         Information: VIN
         1DGRS1214CM096604
13       Website domain unknown                       Unknown                         $0.00                                             $0.00                      FA
14       Customer List unknown                        Unknown                         $0.00                                             $0.00                      FA
15       Telephone number unknown                     Unknown                         $0.00                                             $0.00                      FA


TOTALS (Excluding unknown value)                                                                                                    Gross Value of Remaining Assets
                                                    $307,621.00                 $307,621.00                                      $28,800.00                  $0.00




     Major Activities affecting case closing:
      06/01/2021       TDR to UST
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                                                                         FORM 1
                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                         Exhibit 8
                                                                ASSET CASES
Case No.:                    19-60280-LKG                                                            Trustee Name:                              Robert T. Bruegge
Case Name:                   NOVATEK MEDICAL RENTAL GROUP, INC.                                      Date Filed (f) or Converted (c):           07/31/2019 (f)
For the Period Ending:       6/1/2021                                                                §341(a) Meeting Date:                      09/19/2019
                                                                                                     Claims Bar Date:                           12/23/2019

                         1                                2                       3                           4                         5                        6

                 Asset Description                     Petition/         Estimated Net Value              Property                Sales/Funds              Asset Fully
                  (Scheduled and                     Unscheduled        (Value Determined by              Abandoned              Received by the        Administered (FA) /
             Unscheduled (u) Property)                  Value                  Trustee,             OA =§ 554(a) abandon.            Estate               Gross Value of
                                                                       Less Liens, Exemptions,                                                           Remaining Assets
                                                                          and Other Costs)

     02/24/2021      O Apprvg TFR entered
     02/16/2021      Emailed FO to Court
     01/26/2021      Filed NFR
     01/19/2021      Ntc from IRS re changing address
     12/10/2020      TFR to UST
     12/10/2020      O GR MTW RESP TR OTCL
     12/09/2020      Per Midland's atty, he will withdraw his Resp to TR OTCL 4-2S
     12/09/2020      Midland filed MTW Response to TR OTCL 4-2S
     12/08/2020      Midland filed Response to TR OTCL 4-2S
     12/08/2020      Email to Midland's atty re Response to TR OTCL 4-2S
     12/07/2020      TFR worksheet to RTB
     11/17/2020      O GR MTW TR OTCL 4-1 entered
     11/16/2020      Filed MTW TR OTCL 4-1, TR OTCL 4-2S
     11/16/2020      Mailed check to George B Kruse
     11/13/2020      O GR Appl Accountant Compensation entered
     10/26/2020      Filed TR OTCL
     10/22/2020      Received estate tax returns and accountant bill. Forwarded returns to RTB for review and signing
     10/22/2020      Filed Appl Acct Compensation & Ntc
     10/22/2020      TFR worksheet to RTB
     10/13/2020      Sent note to RTB to review for follow up
     10/13/2020      Provided George Kruse with necessary SSN
     10/05/2020      Email from George Kruse advising he needs SSN for Earl L Robbins for K-1
     10/05/2020      Email to debtor's atty requesting Earl L Robbin's entire SSN for K-1 asap
     09/30/2020      Email to George Kruse with estate information for preparation of tax return.
     09/14/2020      Email from RTB re estate tax returns. Response sent.
     09/14/2020      Email from RTB with tax returns. Response sent.
     08/24/2020      Filed Mtn Compel
     08/03/2020      Email to db's atty re 2019 tax returns
     08/03/2020      Email from db's atty advising he will check
     06/30/2020      Email from db's atty wanting accounting of sale of equipment and inventory and accounts payable balance to finish preparing db's tax
                     returns. Forwarded to RTB.
     06/30/2020      Emailed Form 2 to db's atty
     06/02/2020      Email to TES requesting scheduled claims be imported
     04/29/2020      Notes to RTB re W-9's and 1120s
     04/21/2020      Email from George Kruse re tax returns
     04/21/2020      Email to db's atty re W-2's, 1120's, and other tax documents
     04/20/2020      Email from George Kruse re tax returns; Response sent
     04/06/2020      Mailed check to Midland States Bank
     04/03/2020      O GR Mtn Pay entered
     04/02/2020      Filed Rpt Sale, Appl Auctioneer's Compensation & Ntc, and Mtn Pay
     03/09/2020      Email from George Kruse
     02/25/2020      Received email from db's atty advising now db says they can't file tax docs by deadline. Forwarded to George Kruse.
     02/20/2020      Email to db's atty advising we need copies of W-2's and 1120s
     02/20/2020      Email from db's atty wanting to know if dbs needed to file returns. Response sent advising yes since she told me on Monday the debtor
                     was taking care of this.
     02/18/2020      Per email from db's atty: Db has filed W-2's and plans on filing returns. Forwarded info to accountant.
     02/11/2020      2nd Ltr re tax information
     02/10/2020      Filed Ntc Intent Sell
                                    Case 19-60280-lkg                  Doc 79 Filed 06/02/21                     Page 11 of 14                    Page No:     3
                                                                         FORM 1
                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                       Exhibit 8
                                                                ASSET CASES
Case No.:                    19-60280-LKG                                                           Trustee Name:                             Robert T. Bruegge
Case Name:                   NOVATEK MEDICAL RENTAL GROUP, INC.                                     Date Filed (f) or Converted (c):          07/31/2019 (f)
For the Period Ending:       6/1/2021                                                               §341(a) Meeting Date:                     09/19/2019
                                                                                                    Claims Bar Date:                          12/23/2019

                         1                                2                      3                           4                         5                       6

                 Asset Description                    Petition/         Estimated Net Value              Property                Sales/Funds            Asset Fully
                  (Scheduled and                    Unscheduled        (Value Determined by              Abandoned              Received by the      Administered (FA) /
             Unscheduled (u) Property)                 Value                  Trustee,             OA =§ 554(a) abandon.            Estate             Gross Value of
                                                                      Less Liens, Exemptions,                                                         Remaining Assets
                                                                         and Other Costs)

     01/30/2020      Email from auctioneer re inventory. Forwarded to RTB
     01/30/2020      Ltr re tax information
     01/29/2020      O GR Appl Auctioneer Compensation entered
     01/27/2020      Email from accountant requesting Form 2. Response sent.
     01/07/2020      Email to RTB re follow up on whether warehouse items can be sold; Response received
     01/07/2020      Filed Rpt Sale
     01/07/2020      Filed Appl Auctioneer Compensation & Ntc
     12/03/2019      Email from auctioneer. Printed and forwarded to RTB.
     11/25/2019      Email from auctioneer with photos. Forwarded to RTB for review.
     11/18/2019      Email from Martin Auction Services re items in warehouse. Forwarded to RTB
     11/18/2019      Email from Martin Auction Services re December auction. Response sent.
     11/18/2019      Email from Martin Auction Services re items in warehouse. Response sent. Forwarded to RTB
     11/04/2019      Called rob Nord to take a look at the equipment to sell. told him to contact Dean Kramer at 2178213411
     10/17/2019      Filed Ntc Intent Sell
     10/15/2019      Received copies of checks; Forwarded to RTB for review
     10/15/2019      Emailed O GR Appl Employ Accountant to George Kruse
     10/15/2019      Emailed O GR Appl Employ Auctioneer to Martin Auction Services
     10/11/2019      O GR Appl Employ Accountant entered
     10/11/2019      O GR Appl Employ Auctioneer entered
     10/10/2019      Received signed Affidavit from George Kruse
     10/10/2019      Filed Appl Employ Accountant
     10/09/2019      2nd Ltr re cancelled checks
     10/09/2019      Received signed declaration from auctioneer
     10/09/2019      Filed Appl Employ Auctioneer
     10/09/2019      2 email to George Kruse re Appl Employ Accountant
     10/08/2019      Emailed auctioneer Application to Employ and information re locations. Mailed keys and titles.
     10/03/2019      Received email from db's atty advising of locations of vehicles. Titles and keys received
     10/02/2019      Ltr re titles, keys, locations
     09/30/2019      Email from Atty Tim Rudolph re MFR. Forwarded to RTB.
     09/25/2019      Emailed Appl Employ Accountant to George Kruse
     09/24/2019      Ran Westlaw and UC searches. Forwarded results to RTB
     09/24/2019      Ltr re cancelled checks


Initial Projected Date Of Final Report (TFR):           09/22/2020                                                    /s/ ROBERT T. BRUEGGE
Current Projected Date Of Final Report (TFR):           03/31/2021                                                    ROBERT T. BRUEGGE
                                                                Case 19-60280-lkg            Doc 79  Filed
                                                                                                  FORM   2 06/02/21                   Page 12 of 14                           Page No: 1                   Exhibit 9
                                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          19-60280-LKG                                                                                              Trustee Name:                           Robert T. Bruegge
 Case Name:                        NOVATEK MEDICAL RENTAL GROUP, INC.                                                                        Bank Name:                              Independent Bank
Primary Taxpayer ID #:             **-***3643                                                                                                Checking Acct #:                        ******0280
Co-Debtor Taxpayer ID #:                                                                                                                     Account Title:
For Period Beginning:              7/31/2019                                                                                                 Blanket bond (per case limit):          $48,364,291.00
For Period Ending:                 6/1/2021                                                                                                  Separate bond (if applicable):

       1                2                                   3                                              4                                                       5                       6                       7

   Transaction       Check /                            Paid to/                   Description of Transaction                                 Uniform           Deposit            Disbursement                 Balance
      Date            Ref. #                         Received From                                                                           Tran Code            $                     $


12/26/2019                     Martin Auction Services                      2012 Doolittle Trailer; 2002 GMC Savana; 2001 Ford                   *               $7,300.00                                             $7,300.00
                                                                            F250; Tale Forklift
                      {12}                                                                                                       $1,050.00    1129-000                                                                 $7,300.00
                      {9}                                                                                                        $2,850.00    1129-000                                                                 $7,300.00
                      {10}                                                                                                       $2,550.00    1129-000                                                                 $7,300.00
                      {11}                                                                                                        $850.00     1129-000                                                                 $7,300.00
01/29/2020           1001      Rob Nord                                     Auctioneer Fee                                                    3610-000                                          $730.00                $6,570.00
01/29/2020           1002      Rob Nord                                     Auctioneer Expenses                                               3620-000                                          $569.00                $6,001.00
03/30/2020            (4)      Martin Auction Services                      Medical Equipment                                                 1129-000          $21,500.00                                         $27,501.00
04/06/2020           1003      Midland States Bank                          Lien on Medical Equipment                                         4110-000                                     $16,500.00              $11,001.00
04/27/2020           1004      Martin Auction Services                      Auctioneer Fee                                                    3610-000                                         $2,150.00               $8,851.00
08/31/2020                     Independent Bank                             Account Analysis Charge                                           2600-000                                           $12.90                $8,838.10
09/30/2020                     Independent Bank                             Account Analysis Charge                                           2600-000                                           $12.88                $8,825.22
10/30/2020                     Independent Bank                             Account Analysis Charge                                           2600-000                                           $12.86                $8,812.36
11/12/2020           1005      International Sureties Ltd                   CHAPTER 7 BLANKET BOND REGION 10 - N&S                            2300-000                                            $5.39                $8,806.97
                                                                            INDIANA, C&S ILLINOIS
11/16/2020           1006      GEORGE B. KRUSE                              Accountant Fee                                                    3410-000                                         $2,245.00               $6,561.97
11/30/2020                     Independent Bank                             Account Analysis Charge                                           2600-000                                           $12.84                $6,549.13
02/25/2021           1007      Robert T. Bruegge                            Trustee Compensation                                              2100-000                                         $3,630.00               $2,919.13
02/25/2021           1008      Robert T. Bruegge                            Trustee Expenses                                                  2200-000                                          $541.70                $2,377.43
02/25/2021           1009      Illinois Department of Employment Security   Claim #: 2; Distribution Dividend: 27.99; Account                 5800-000                                          $197.91                $2,179.52
                                                                            Number: ;
02/25/2021           1010      Internal Revenue Service                     Claim #: 8; Distribution Dividend: 27.99; Account                 5800-000                                         $2,179.52                  $0.00
                                                                            Number: ;




                                                                                                                                             SUBTOTALS          $28,800.00                 $28,800.00
                                                               Case 19-60280-lkg       Doc 79  Filed
                                                                                            FORM   2 06/02/21                 Page 13 of 14                              Page No: 2                 Exhibit 9
                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          19-60280-LKG                                                                                        Trustee Name:                             Robert T. Bruegge
Case Name:                        NOVATEK MEDICAL RENTAL GROUP, INC.                                                                  Bank Name:                                Independent Bank
Primary Taxpayer ID #:            **-***3643                                                                                          Checking Acct #:                          ******0280
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:
For Period Beginning:             7/31/2019                                                                                           Blanket bond (per case limit):            $48,364,291.00
For Period Ending:                6/1/2021                                                                                            Separate bond (if applicable):

      1                 2                                3                                             4                                                      5                       6                     7

  Transaction        Check /                          Paid to/                 Description of Transaction                              Uniform           Deposit              Disbursement               Balance
     Date             Ref. #                       Received From                                                                      Tran Code            $                       $


                                                                                         TOTALS:                                                            $28,800.00                $28,800.00                   $0.00
                                                                                             Less: Bank transfers/CDs                                            $0.00                     $0.00
                                                                                         Subtotal                                                           $28,800.00                $28,800.00
                                                                                             Less: Payments to debtors                                           $0.00                     $0.00
                                                                                         Net                                                                $28,800.00                $28,800.00



                     For the period of 7/31/2019 to 6/1/2021                                                       For the entire history of the account between 12/26/2019 to 6/1/2021

                     Total Compensable Receipts:                         $28,800.00                                Total Compensable Receipts:                                    $28,800.00
                     Total Non-Compensable Receipts:                          $0.00                                Total Non-Compensable Receipts:                                     $0.00
                     Total Comp/Non Comp Receipts:                       $28,800.00                                Total Comp/Non Comp Receipts:                                  $28,800.00
                     Total Internal/Transfer Receipts:                        $0.00                                Total Internal/Transfer Receipts:                                   $0.00


                     Total Compensable Disbursements:                    $28,800.00                                Total Compensable Disbursements:                               $28,800.00
                     Total Non-Compensable Disbursements:                     $0.00                                Total Non-Compensable Disbursements:                                $0.00
                     Total Comp/Non Comp Disbursements:                  $28,800.00                                Total Comp/Non Comp Disbursements:                             $28,800.00
                     Total Internal/Transfer Disbursements:                   $0.00                                Total Internal/Transfer Disbursements:                              $0.00
                                                               Case 19-60280-lkg      Doc 79  Filed
                                                                                           FORM   2 06/02/21              Page 14 of 14                            Page No: 3                 Exhibit 9
                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         19-60280-LKG                                                                                     Trustee Name:                           Robert T. Bruegge
Case Name:                       NOVATEK MEDICAL RENTAL GROUP, INC.                                                               Bank Name:                              Independent Bank
Primary Taxpayer ID #:           **-***3643                                                                                       Checking Acct #:                        ******0280
Co-Debtor Taxpayer ID #:                                                                                                          Account Title:
For Period Beginning:            7/31/2019                                                                                        Blanket bond (per case limit):          $48,364,291.00
For Period Ending:               6/1/2021                                                                                         Separate bond (if applicable):

      1                 2                                3                                            4                                                 5                       6                     7

  Transaction        Check /                         Paid to/                 Description of Transaction                           Uniform           Deposit            Disbursement               Balance
     Date             Ref. #                      Received From                                                                   Tran Code            $                     $




                                                                                                                                                                                     NET             ACCOUNT
                                                                                        TOTAL - ALL ACCOUNTS                               NET DEPOSITS                         DISBURSE            BALANCES

                                                                                                                                                     $28,800.00             $28,800.00                       $0.00




                     For the period of 7/31/2019 to 6/1/2021                                                   For the entire history of the case between 07/31/2019 to 6/1/2021

                     Total Compensable Receipts:                         $28,800.00                            Total Compensable Receipts:                                  $28,800.00
                     Total Non-Compensable Receipts:                          $0.00                            Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                       $28,800.00                            Total Comp/Non Comp Receipts:                                $28,800.00
                     Total Internal/Transfer Receipts:                        $0.00                            Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:                    $28,800.00                            Total Compensable Disbursements:                             $28,800.00
                     Total Non-Compensable Disbursements:                     $0.00                            Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                  $28,800.00                            Total Comp/Non Comp Disbursements:                           $28,800.00
                     Total Internal/Transfer Disbursements:                   $0.00                            Total Internal/Transfer Disbursements:                            $0.00




                                                                                                                               /s/ ROBERT T. BRUEGGE
                                                                                                                               ROBERT T. BRUEGGE
